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1    DANIEL J. BRODERICK, Bar #89424
     Federal Defender
2    TIMOTHY ZINDEL, Bar #158377
     Assistant Federal Defender
3    801 I Street, 3rd Floor
     Sacramento, California 95814
4    Telephone: (916) 498-5700
5    Attorney for Defendant
     RAMON FILIPE MALDONADO
6
7
8                           IN THE UNITED STATES DISTRICT COURT
9                          FOR THE EASTERN DISTRICT OF CALIFORNIA
10
11
12   UNITED STATES OF AMERICA,       )       No. 2:10-cr-220 GEB
                                     )
13                  Plaintiff,       )       STIPULATION AND ORDER
                                     )       CONTINUING STATUS CONFERENCE
14        v.                         )       AND EXCLUDING TIME
                                     )
15   RAMON FILIPE MALDONADO, JOHNNY )
     E. “JAY” GRIVETTE, JR., and     )       Date: August 13, 2010
16   DAMON TODD RYDELL,              )       Time: 9:00 a.m.
                                     )       Judge: Hon. Garland E. Burrell
17                  Defendant.       )
                                     )
18   _______________________________ )
19          IT IS HEREBY STIPULATED AND AGREED between plaintiff, United States
20   of America, and defendants, Ramon Filipe Maldonado, Johnny E. “Jay”
21   Grivette, Jr., and Damon Todd Rydell, through their respective attorneys,
22   that   the   status    conference   scheduled   for   August   13,   2010,   may   be
23   continued to October 8, 2010, at 9:00 a.m.
24          Counsel for defendants require further time to review discovery, to
25   complete investigation and to confer with the government in an effort to
26   resolve this matter.       To afford additional time to complete these tasks
27   and to further prepare, the parties agree that time under the Speedy
28   Trial Act should be excluded from the date of this order through the
              Case 2:10-cr-00220-GEB Document 25 Filed 08/13/10 Page 2 of 3


1    status    conference    on   October    8,       2010,   pursuant   to   18   U.S.C.   §
2    3161(h)(7)(A) and (B)(iv)(Local Code T4).
3                                              Respectfully submitted,
4                                              DANIEL J. BRODERICK
                                               Federal Defender
5
6    Dated:    August 12, 2010                 /s/ T. Zindel
                                               TIMOTHY ZINDEL
7                                              Assistant Federal Defender
                                               Attorney for RAMON FILIPE MALDONADO
8
                                               /s/ T. Zindel for
9    Dated:    August 12, 2010                 MARK REICHEL
                                               Attorney for JOHNNY GRIVETTE, JR.
10
11                                             /s/ T. Zindel for
     Dated:    August 12, 2010                 J. TONY SERRA
12                                             Attorney for DAMON TODD RYDELL
13
                                               BENJAMIN B. WAGNER
14                                             United States Attorney
15
     Dated:    August 12, 2010                 /s/ T. Zindel for
16                                             RUSSELL CARLBERG
                                               Assistant U.S. Attorney
17
18
                                            O R D E R
19
           The status conference is continued to October 8, 2010, at 9:00 a.m.
20
     Time under the Speedy Trial Act is excluded through that date for the
21
     reasons stated above and by agreement of the parties, the court finding
22
     that the ends of justice to be served by a continuance outweigh the best
23
     interests of the defendant and the public in a speedy trial.
24
           IT IS SO ORDERED.
25
26   Dated:    August 12, 2010

27
28                                       GARLAND E. BURRELL, JR.
                                         United States District Judge

     Stip. & Order                                2
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     Stip. & Order                           3
